                   CASE 0:16-cr-00334-JNE-KMM Document 149 Filed 06/26/19 Page 1 of 2
                                      UNITED STATES DISTRICT COURT
                                          for the District of Minnesota
                                                        NOTICE OF APPEAL

                                                                                         USCA 8 NO
 United States of America,
                Plaintiff,
                                                                                         16-CR-334 (1) (JNE/KMM)
 v.                                                                                      District Court Docket Number

 Paul R. Hansmeier,                                                                      Honorable Joan E. Ericksen
              Defendant.                                                                 U.S. District Court Judge

       Notice is given that Paul R. Hansmeier appeals to the United States Court of Appeals for the Eighth Circuit
from the Judgment & Commitment Order entered in this action on June 14, 2019.

s/ Manny K. Atwal                                                                        Manvir K. Atwal, ID 282029
Signature of Defendant's Counsel                                                         Typed Name of Defendant's Counsel, Attorney ID No.

300 South Fourth Street, Suite 107                                                       612-664-5858
Street Address / Room Number                                                             Telephone Number

Minneapolis, MN 55415                                                                    June 26, 2019
City, State, Zip                                                                         Date


                                                     TRANSCRIPT ORDER FORM
                                        TO BE COMPLETED BY ATTORNEY FOR APPELLANT
                   Please Prepare a transcript of:                                   I am not ordering a transcript because

                   Pre Trial Proceedings                                                       Previously filed
                   Testimony or                                                                Other (Specify): Already ordered
                   Portions thereof:
                   Trial Proceedings (specify if to include jury selection, opening statements, closing arguments, and jury instructions)
                   Post Trial Proceedings
                   Change of Plea
                   Sentencing
                   Other (Specify):




                                                CERTIFICATE OF COMPLIANCE
 Appellant hereby certifies that copies of this notice of appeal/transcript order form have been filed/served upon U.S. District Court, court
 reporter, and all counsel of record, and that satisfactory arrangements for payment of costs of transcripts ordered have been made with the
 court reporter. (FRAP 10(b)). Method of Payment: ___ Funds, X Authorization sent to reporter.


 Attorney's Signature         s/ Manny K. Atwal                                                 Date             June 26, 2019
                 CASE 0:16-cr-00334-JNE-KMM Document 149 Filed 06/26/19 Page 2 of 2
INFORMATION SHEET
TO BE COMPLETED BY ATTORNEY FOR APPELLANT

1.   Defendant's Address:           Reg. No. 20953-041 ; [Defendant's Home Address Redacted]
2.   Date of Verdict:               N/A                                  Jury          Non-Jury 
     Offenses:                      Conspiracy to Commit Mail Fraud and Wire Fraud, 18 U.S.C. § 1349;
                                    Conspiracy to Commit Money Laundering, 18 U.S.C. § 1956(h)
     Trial                          Number of Days: N/A                  Bail Status:
3.   Date & Sentence Imposed:       June 14, 2019; 168 months custody of the BOP, followed by 2 years of
                                    supervised release
4.   Appealing:                     Sentence              Conviction                  Both 
     Challenging:                    Application of Sentencing Guidelines                        Both Application and
                                    Constitutionality

                                     Constitutionality of Guidelines              Reasonableness of Sentence

                                     Application of ACCA                          Other:
                                    ________________________
5.   Date Transcript ordered by Counsel or District Court: 6/26/19
     Stenographer in Charge:        Kristine Mousseau
     (Name, Address, Phone)         300 South Fourth Street, Suite 1005
                                    Minneapolis, MN 55415
                                    (612) 664-5106
6.   Trial Counsel Was:              Appointed (no fee required)         Retained
                                                                            (filing fee $105 unless IFP granted)
     Does Defendant's financial status warrant appointment of counsel on appeal?            Yes        No
     Affidavit of Financial Status filed:    N/A
     Is there any reason why trial counsel should not be appointed as counsel on appeal?          Yes       No
7.   Assistant U.S. Attorney Name and Phone Number:                      Benjamin F. Langner,
                                                                         David J. Maclaughlin, and
                                                                         Brian L. Levine
                                                                         612-664-5600



                                            Court Reporter Acknowledgment



Date Order Received                          Estimated Completion Date             Estimated Number of Pages


Court Reporter's Signature                                                         Date
